                                Case 1:19-cv-01876-JMF Document 2 Filed 02/27/19 Page 1 of 2
      JS 44C/SDNY                                                               CIVIL COVER SHEET
      REV. 06/01/17
                              The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                              other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                              United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



      PLAINTIFFS                                                               DEFENDANTS
Touchstone Strategic Trust, Touchstone Variable Series Trust, The Western and   General Electric Company, Jeffrey R. lmmelt, Jeffrey_ S. Bornstein, Jamie S.
Southern Life Insurance Company, Western-Southern Life Assurance Company,       Miller, and Keith S. Sherin
Western & Southern Financial Group, Inc., and Integrity Life Insurance Company
      ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                      ATTORNEYS (IF KNOWN)
   William A. Maher, Steven S. Fitzgerald, Roselind F. Hallinan
   Wollmuth Maher & Deutsch LLP, 500 Fifth Ave., New York, NY 10110
   (212)382-3300
      CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                               (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)
         15 U.S.C. §78j(b);78t(a) 17 C.F.R. §240.1 Ob-5; Securities Fraud-Violations of Sections 1 O(b) & 20(a) of Exchange Act & SEC Rule 1 OB-5;
         O.R.C. § 1707.43; Common Law Fraud
                                                                                                                                   Judge Previously Assigned
      Has this action, case, or proceeding, or one essentially the same been previously filed in SONY at any time? No [Z]Yes D

      If yes, was this case Vol.    D lnvol. D      Dismissed. No [RI Yes       D      If yes, give date __________ & Case No. __________

      Is THIS AN INTERNATIONALARBlTRATJON CASE7             No@             Yes D
      (PLACE AN [x] IN ONE BOX ONL \".)                                    NATURE OF SUIT
                                     TORTS                                                                                    ACTIONS UNDER STATUTES



      CONTRACT                       PERSONAL INJURY                                            FORFEITURE/PENALTY            BANKRUPTCY                    OTHER STATUTES
                                                                  if��P�fkL��MfJE/
                                                                  PHARMACEUTICAL PERSONAL                                                                   [ ] 375FALSE CLAIMS
      [)   110  INSURANCE           [) 310AIRPLANE                                              [ ] 625DRUG RELATED           [ ] 422APPEAL
      [)   120  MARINE              []315AIRPLANE PRODUCT         INJURY/PRODUCT LIABILITY                                              28 use 158          [ ] 376QUI TAM
                                                                                                  SEIZURE OF PROPERTY
      lJ   130  MILLER ACT                  LIABILITY             [ ] 365 PERSONAL INJURY              21 USC 881             [ ] 423 VV'ITHDRAWAL          [ ] 400STATE
      [J   140  NEGOTIABLE          [ J320ASSAULT, LIBEL&                  PRODUCT LIABILITY                                            28use 157                   REAPPORTIONMENT
                                                                                                [ J 590 OTHER
                INSTRUMENT                  SLANDER               ( ] 368ASBESTOS PERSONAL                                                                  [ ] 410ANTITRUST
      [) 150    RECOVERY OF         [ J 330FEDERAL                         INJURY PRODUCT                                                                   [ ] 430BANKS& BANKING
                OVERPAYMENT&                EMPLOYERS'                     LIABILITY            PROPERTY RIGHTS                                             [ ] 450COMMERCE
                ENFORCEMENT                 LIABILITY                                                                                                       [ ] 460DEPORTATION
                OF JUDGMENT         [ J 340MARINE                 PERSONAL PROPERTY             [ ] 820COPYRIGHTS                                           [ ] 470RACKETEER INFLU­
                                                                                                [ J 830PATENT                                                       ENCED & CORRUPT
      [ )151
      [) 152
                MEDICARE ACT
                RECOVERY OF
                DEFAULTED
                                    [ J 345MARINE PRODUCT
                                            LIABILITY
                                    [ J 350MOTOR VEHICLE
                                                                  ff   370 OTHER FRAUD
                                                                       371TRUTH IN LENDING
                                                                                                [ ] 835PATENT-ABBREVIATED NEW DRUG APPLICATION                      ORGANIZATION ACT
                                                                                                                                                                    (RICO)
               STUDENT LOANS        [ ] 355MOTOR VEHICLE                                        { ]840 TRADEMARK                                            [ ] 480 CONSUMER CREDIT
                 (EXCL VETERANS)            PRODUCT LIABILITY                                                             SOCIAL SECURITY                   [ ] 490 CABLE/SATELLITE TV
      [ J 153   RECOVERY OF         [ J 360OTHER PERSONAL
                OVERPAYMENT                 INJURY                [ J 380 OTHER PERSONAL        LABOR                           861 HIA ( 1395ft)           [� 850 SECURITIES/
                OF VETERAN'S        [ ] 362 PERSONAL INJURY·               PROPERTY DAMAGE                                      862BLACK LUNG (923)                 COMMODITIES/
                BENEFITS                    MED MALPRACTICE       [ J 385 PROPERTY DAMAGE       I) 710 FAIR LABOR               863DIWCIDl\/1/W (405(9))            EXCHANGE
      [ J 160   STOCKHOLDERS                                               PRODUCT LIABILITY            STANDARDS ACT           864 SSID TITLE XVI
                SUITS                                                                           I] 720 LABOR/MGMT               865RSI (405(g))
      [) 190    OTHER                                             PRISONER PETITIONS                    RELATIONS                                           [ J 890OTHER STATUTORY
                CONTRACT                                          [ ] 463 ALIEN DETAINEE       [ J 740RAILWAY LABOR ACT                                            ACTIONS
      [) 195    CONTRACT                                          [ ]510MOTIONS TO             {] 751 FAMILY MEOICAL     FEDERAL TAX SUITS                  []891 AGRICULTURAL ACTS
                PRODUCT             ACTIONS UNDER STATUTES                 VACATE SENTENCE     LEAVE ACT (FMLA)
                LIABILITY                                                  28USC 2255                                    []870 TAXES (U.S. Plaintiff or
      []196 FRANCHISE               CIVIL RIGHTS                  { ] 530 HABEAS CORPUS     [ ] 790OTHER LABOR                    Defendant)                []893ENVIRONMENTAL
                                                                  I] 535 DEATH PENALTY               LITIGATION          [ ) 871 !RS-THIRD PARTY                   MATTERS
                                                                  [ ] 540 MANDAMUS& OTHER [ ] 791 EMPL RET INC                     26USC 7609               { ]895FREEDOM OF
                                    []440 OTHER CIVIL RIGHTS                                         SECURITY ACT (ERISA)                                          INFORMATION ACT
                                              (Non-Prisoner)
      REAL PROPERTY                                                                                                                                         { ] 896ARBITRATION
                                    [ ] 441 VOTING                                          IMMIGRATION                                                     I] 899ADMINISTRATIVE
      { ]210        LAND            [ ] 442 EMPLOYMENT            PRISONER CIVIL RIGHTS
                                    [ ] 443HOUSING/                                         [ ] 462 NATURALIZATION                                             PROCEDURE ACT/REVIEW OR
                    CONDEMNATION
                                              ACCOMMODATIONS [ J 550CIVIL RIGHTS                     APPLICATION                                               APPEAL OF AGENCY DECISION
      ! ]220        FORECLOSURE
      { ]230        RENT LEASE &     [ ] 445 AMERICANS VV'ITH     [ ] 555 PRISON CONDITION  [ ] 465OTHER IMMIGRATION                                          [ ] 950 CONSTITUTIONALITY OF
                    EJECTMENT                 DISABILITIES·       [ ] 560CIVIL DETAINEE              ACTIONS                                                  STATE STATUTES
      [ ] 240       TORTS TO LAND             EMPLOYMENT             CONDITIONS OF CONFINEMENT
      [ ] 245       TORT PRODUCT      [ ] 446 AMERICANS VV'ITH
                    LIABILITY                 DISABILITIES -OTHER
      [ ]290        ALL OTHER          [ ] 448EDUCATION
                    REAL PROPERTY




      □          Check if demanded in complaint:

                 CHECK IFTHIS IS A CLASS ACTION
                 UNDER F.R.C.P. 23
                                                                             DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
                                                                             AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
                                                                             IF SO, STATE:
                                                                                                                                                             5
      DEMAND $ ------ OTHER ------ JUDGE Hon. Jesse M. Furman                                                                          DOCKET NUMBER17-cv-084 7

      Check YES only if demanded in complaint
      JURY DEMAND: iID YES DJO                                               NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
                         Case 1:19-cv-01876-JMF Document 2 Filed 02/27/19 Page 2 of 2

(PLACE AN x IN ONE BOX ONLY)                                                    ORIGIN
                                                                         0 4 Reinstated or            ransferred from D 6 Mu! idis
                                                                                                D 5 T(Specify                                    D 7 Appeal to District
[Rl 1   Original
        Proceeding
                       D 2 Removed from              03   Remanded
                                                          from                Reopened                        District)
                                                                                                                               t   trict
                                                                                                                          Litigation                    Judge from

                       □
                             State Court                                                                                      (Transferred)             Magistrate Judge
                                                          Appellate
                            a. all parties represented    Court
                                                                                                                       D 8 Multidistrict Litigation (Direct Fite)
                       □ b.     At least one party
                                is prose.
(PLACE AN x IN ONE BOX ONLY)                                          BASIS OF JURISDICTION                                         IF DIVERSITY, IND/CA TE
01      U.S. PLAINTIFF     O2    U.S. DEFENDANT          IR]   3   FEDERAL QUESTION            04   DIVERSITY                       CITIZENSHIP BELOW.
                                                                   (U.S. NOT A PARTY)

                                 CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
         (Place an [X) in one box for Plaintiff and one box for Defendant)

                                PTF    DEF                                                   PTF DEF                                                      PTF       DEF
CITIZEN OF THIS STATE           I I1 I I1        CITIZEN OR SUBJECT OF A                     I 131 J3       INCORPORATED and PRINCIPAL PLACE              [ ]5      [ J5
                                                  FOREIGN COUNTRY                                           OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE        [ ]2   [ ]2      INCORPORATED or PRINCIPAL PLACE             [ ]4[ ]4       FOREIGN NATION                                I I, I I,
                                                  OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)




DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                                     COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:                                                                       □ WHITE PLAINS                       IR] MAN HATTAN

DATE 02/27/2019                                                                                     ADMITTED TO PRACTICE IN THIS DISTRICT
                                                                                                    I I NO
                                                                                                    [J<l YES (DATE ADMITTED Mo.0_7__ Yr. 2007
RECEIPT#                                                                                            Attorney Bar Code# SF0803


Magistrate Judge is to be d esignated by the Clerk of the Court.

Magistrate Judge ___________________________ is s o Designated.

Ruby J. Krajick, Clerk of Court by ______ Deputy Clerk, DATED _________.

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
